Case 2:04-cr-20481-SH|\/| Document 21 Filed 06/13/05 Page 10f2 Page|D

FWHJBY

 

IN THE UNITED sTATEs DIsTRIcT coURT

FoR THE wEsTERN DISTRICT oF TENNESSEE n§JUH!g PM 5:36
wEsTERN DIvIsIoN

m.s:THouo

,i.msnct

'r:N.JaMNMS

 

   

UNITED STATES OF AMERICA,
Plaintiff,
vs.

CR. NO. 04-204Bl-Ma

MARCUS BUFORD,

Defendant.

 

ORDER ON CONTINUA.NCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., With a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period from. May 31, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

. 1314
IT IS SO ORDERED ChJ_S day Of Jlll'l€, 2005.

JJc/%

SAMUEL H. MAYS, JR.
UNITED S'I'ATES DISTRICT JUDGE

 

This document entered on the docket sher in -;:c,w£’.ls.;;'j-»t»;A
With Hu!e 55 and/cr 32(b) FFICrP on ““

.¢

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CR-20481 Was distributed by faX, mail, or direct printing on
.1 une 15, 2005 to the parties listed.

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

